Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 1 of 27 PageID #: 13




                     EXHIBIT A
12/23/2019   Case: 4:19-cv-03322-HEA Doc. #:Case.net: 19JE-CC00803
                                             1-1 Filed:            - DocketPage:
                                                             12/24/19      Entries 2 of 27 PageID #: 14




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                       19JE-CC00803 - KIMBERLY ABRAM ET AL V TITLEMAX OF MISSOURI,
                                               INC. (E-CASE)


                                     This information is provided as a service and is not considered an official court record.

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                                                                Descending                                                       All Entries
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                                                                                                Ascending


  12/02/2019           Affidavit Filed
                       Return of Service for Defendant TitleMax of Missouri, Inc; Electronic Filing Certificate of Service.
                         Filed By: JESSE B ROCHMAN
                         On Behalf Of: KIMBERLY ABRAM, JOHN ADAMS, CAMILE ADKINS, KENDRA AKERS, MARIAN
                       ALEXANDER, TRACY ALLEN, VARNICE ALLEN, MELVIN ALLMAN, STEPHANIE ALYADUMI,
                       LEMONT AMOS
                       Summons Personally Served
                       Document ID - 19-SMCC-1632; Served To - TITLEMAX OF MISSOURI, INC.; Server - ; Served Date -
                       27-NOV-19; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description -
                       Served

  11/26/2019           Entry of Appearance Filed
                       Entry of Appearance; Electronic Filing Certificate of Service.
                          Filed By: JESSE B ROCHMAN
                          On Behalf Of: KIMBERLY ABRAM, JOHN ADAMS, CAMILE ADKINS, KENDRA AKERS, MARIAN
                       ALEXANDER, TRACY ALLEN, VARNICE ALLEN, MELVIN ALLMAN, STEPHANIE ALYADUMI,
                       LEMONT AMOS
                       Entry of Appearance Filed
                       Entry of Appearance for Craig W Richards; Electronic Filing Certificate of Service.
                          Filed By: CRAIG WAYNE RICHARDS
                          On Behalf Of: KIMBERLY ABRAM, JOHN ADAMS, CAMILE ADKINS, KENDRA AKERS, MARIAN
                       ALEXANDER, TRACY ALLEN, VARNICE ALLEN, MELVIN ALLMAN, STEPHANIE ALYADUMI,
                       LEMONT AMOS
                       Summons Issued-Circuit
                       Document ID: 19-SMCC-1632, for TITLEMAX OF MISSOURI, INC..
                       Entry of Appearance Filed
                       Entry of Appearance for Martin L Daesch; Electronic Filing Certificate of Service.
                          Filed By: MARTIN L DAESCH
                          On Behalf Of: KIMBERLY ABRAM, JOHN ADAMS, CAMILE ADKINS, KENDRA AKERS, MARIAN
                       ALEXANDER, TRACY ALLEN, VARNICE ALLEN, MELVIN ALLMAN, STEPHANIE ALYADUMI,
                       LEMONT AMOS

  11/06/2019           Filing Info Sheet eFiling
                           Filed By: JAMES G ONDER
                       Note to Clerk eFiling
                           Filed By: JAMES G ONDER
                       Motion Filed
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                          1/2
12/23/2019   Case: 4:19-cv-03322-HEA Doc. #:Case.net: 19JE-CC00803
                                             1-1 Filed:            - DocketPage:
                                                             12/24/19      Entries 3 of 27 PageID #: 15
                      Motion for Appointment of Special Process Server. JOHN HOUSEMAN IS ON THE APPROVED LIST
                        Filed By: JAMES G ONDER
                        On Behalf Of: KIMBERLY ABRAM, JOHN ADAMS, CAMILE ADKINS, KENDRA AKERS, MARIAN
                      ALEXANDER, TRACY ALLEN, VARNICE ALLEN, MELVIN ALLMAN, STEPHANIE ALYADUMI,
                      LEMONT AMOS
                      Pet Filed in Circuit Ct
                      Petition; Exhibit A; Exhibit B.
                      Judge Assigned
 Case.net Version 5.14.0.17                                Return to Top of Page                Released 11/25/2019




https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                         2/2
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 Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 4 of 27 PageID #: 16



                  IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                              STATE OF MISSOURI

 KIMBERLY ABRAM, et al.,

        Plaintiffs,
                                                            Case No.
 v.

 TITLEMAX OF MISSOURI, INC.                                 JURY TRIAL DEMANDED

        Defendant.


               MOTION FOR APPOINTMENT OF SPECIAL PROCESS SERVER

       COMES NOW Plaintiffs, by and through their attorneys, James G. Onder and OnderLaw,

LLC, and move this Court for an Order pursuant to Rule 54.01 appointing Captured Investigation

Agency and their special process servers to include, but not limited to, John Houseman, as special

process servers on Defendant TitleMax of Missouri, Inc., in the above-named cause of action.

Plaintiffs state that the above-named process servers at Captured Investigation Agency and/or John

Houseman are over the age of eighteen (18) years of age and are not a party in the above captioned

matter. Plaintiffs request this Court issue Summons for service.

                                              ONDERLAW, LLC

                                      By:    /s/ James G. Onder
                                             James G. Onder, #38049
                                             Martin L. Daesch, #40494
                                             Jesse B. Rochman, #60712
                                             Craig W. Richards, #67262
                                             110 E. Lockwood Ave.
                                             St. Louis, MO 63119
                                             (314) 963-9000 (telephone)
                                             (314) 963-1700 (facsimile)
                                             onder@onderlaw.com
                                             daesch@onderlaw.com
                                             rochman@onderlaw.com
                                             Attorneys for Claimant



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 Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 5 of 27 PageID #: 17




                                 Certificate of Service
       I do hereby certify that a true and correct copy of the foregoing document has been
served by means of electronic filing to counsel of record this 6th day of November 2019.


                                                /s/ James G. Onder




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     Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 6 of 27 PageID #: 18


         Name
Abram, Kimberly
Adams, John
Adkins, Camille
Akers, Kendra
Alexander, Marian
Allen, Tracy
Allen, Varnice
Allman, Melvin
Alyadumi, Stephanie
Amos, Jr., Lemont
                                                                                 Electronically Filed - City
                                                              19JE-CC00803
                                                              1522-CC10212
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 7 of 27 PageID #: 19



                                EXHIBIT B




                                                                                                        Jefferson
                                                                                                             of St. -Louis
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                                          - July 06,
                                                 24, 2019
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Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 11 of 27 PageID #: 23 19JE-CC00803

             IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                         STATE OF MISSOURI

 KIMBERLY ABRAM, et al.,

        Plaintiffs,

 v.
                                                             Case No.
                                                             Division
 TITLEMAX OF MISSOURI, INC.
 Serve: C T CORPORATION SYSTEM
                                                             JURY TRIAL DEMANDED
 120 South Central Avenue
 Clayton, MO 63105,

        Defendant.


                                            Petition
       Plaintiffs sue Defendant TitleMax of Missouri, Inc. (“TitleMax”):

                                         Nature of Case
       1.      This is a consumer claim against TitleMax regarding its title loan agreements with

each plaintiff and disposition of each plaintiff’s consumer property.

       2.      TitleMax violated §§ 367.500 to 367.533 regarding its title loans with each plaintiff.

       3.      TitleMax wrongfully accelerated the maturity of the unpaid balance under its title

loan agreements with each plaintiff and otherwise wrongfully enforced its security interest under

its title loan agreements with each plaintiff because TitleMax either failed to give each plaintiff

right to cure notices required by § 408.554 or gave defective right to cure notices.

       4.      TitleMax repossessed each plaintiffs motor vehicle.

       5.      TitleMax failed to send each plaintiff a presale notice that complied with the

Uniform Commercial Code (“UCC”) adopted by Missouri.

       6.      TitleMax failed to send each plaintiff a post-sale notice, which complied with the

UCC.


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Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 12 of 27 PageID #: 24



         7.    TitleMax breached its title loan agreements with each plaintiff.

                                               Parties
         8.    Each plaintiff is identified on Exhibit A. Each plaintiff is a resident of Missouri.

         9.    TitleMax is a Delaware corporation, headquartered at 15 Bull Street, Suite 200,

Savannah, Georgia 31401, which does substantial business in Missouri. TitleMax of Missouri, Inc.

does business as TitleMax and TitleBucks. TitleMax is not a resident of Missouri.

                                    Jurisdiction and Venue
         10.   This is a civil case, so this Court has jurisdiction.

         11.   Each plaintiff has a separate and distinct claim and has united for convenience and

economy in a single suit.

         12.   No plaintiff seeks more than $75,000, exclusive of interest and costs. The amount

of damages claimed in this action by each plaintiff is and will forever be less than $75,000

exclusive of interest and costs. Each plaintiff agrees to the entry of an order placing an irrevocable

cap on the amount of damages that may be awarded to each plaintiff, so that no plaintiff may

recover more than $75,000, exclusive of interest and costs.

         13.   Each plaintiff seeks $50,000.

         14.   Venue is proper in this Court under § 508.010.2 because there is no count alleging

a tort and TitleMax is a nonresident of Missouri.

                                      General Allegations
         15.   Each plaintiff signed a title loan from TitleMax secured by his or her motor vehicle

title.

         16.   Each plaintiff’s title loan agreement required him or her to deliver title of a motor

vehicle to TitleMax and allow TitleMax to note its lien on the certificate of title.

         17.   The title loan agreement signed by each plaintiff is a standardized form.




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Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 13 of 27 PageID #: 25



        18.    The title loan agreement signed by each plaintiff was for personal, family, or

household purposes and the motor vehicle was used for personal, family, or household purposes.

        19.    Each plaintiff’s title loan agreement with TitleMax is a consumer-goods transaction

as the term is defined under the UCC.

        20.    TitleMax acted as a title lender without a title loan license for each plaintiff’s title

loan agreement.

        21.    Each plaintiff’s title loan agreement was secured by title to his or her motor vehicle.

        22.    Sections 367.500 to 367.533 were enacted to protect consumer borrowers like each

plaintiff.

        23.    Each plaintiff’s title loan agreement represents a transaction clearly within the spirit

or reason of §§ 367.500 to 367.533, or within the evil which those statutes were designed to

remedy.

        24.    Each plaintiff’s title loan agreement with TitleMax violated Missouri law for at

least one or all the following reasons:

               a.      As required by § 367.512.1(4), the title loan agreement failed to disclose

        TitleMax must renew the title loan agreement upon the borrower’s written request and the

        payment by the borrower of any interest due at the time of such renewal. However, upon

        the third renewal of any title loan agreement, and any subsequent renewal, the borrower

        shall reduce the principal by ten percent until such loan is paid in full.

               b.      As required by § 367.518.1(2), the title loan agreement failed to disclose in

        at least ten-point bold type, that nonpayment of the title loan may cause loss of the

        borrower’s vehicle or other titled personal property.




                                                   3
                                                                                                         Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 14 of 27 PageID #: 26



             c.        As required by § 367.518.1(4), the title loan agreement failed to disclose the

     monthly interest rate to be charged.

             d.        As required by § 367.518.1(2), the title loan agreement failed to disclose a

     statement, in at least ten-point bold type, separately acknowledged by the signature of the

     borrower and reading: “You may cancel this loan without any costs by returning the full

     principal amount to the lender by the close of the lender’s next full business day.”

             e.        As required by § 367.525.1, TitleMax failed to provide the notice specified

     in § 367.525.1 before accepting a title loan application from each plaintiff that resulted in

     the title loan agreement.

             f.        As required by § 367.525.4, TitleMax failed to consider each plaintiff’s

     financial ability to reasonably repay the title loans evidenced by the title loan agreement.

             g.        As prohibited by § 367.527.1(2), TitleMax made loans exceeding $5,000 to

     each plaintiff.

             h.        As prohibited by § 367.527.1(3), TitleMax accepted the waiver of rights

     and protections for each plaintiff in the title loan agreement.

             i.        As prohibited by § 408.553, the title loan agreement provided interest will

     accrue from the date the borrower defaulted until a final judgment.

             j.        As required by § 367.512.1(4), TitleMax failed to reduce the principal of

     the loan by 10% upon the third and subsequent renewals of any plaintiffs.

             k.        Otherwise failed to include all necessary and required disclosures in the title

     loan agreement signed by each plaintiff.

             l.        Otherwise failed to provide all required notice to each plaintiff.




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                                                                                                       Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 15 of 27 PageID #: 27



               m.      Collected interest, fees, and disposed of each plaintiff’s motor vehicle on a

       void title loan agreement.

       25.     TitleMax knowingly violated §§ 357.500 to 367.533 in violation of § 367.527.

       26.     TitleMax violated §§ 357.500 to 367.533 when conducting transactions with each

plaintiff, rendering the title loan agreement void under § 367.527.2.

       27.     Each plaintiff is not bound by the title loan agreement.

       28.     TitleMax’s actions were wanton, outrageous, and/or malicious because of its

reckless indifference to or conscious disregard of each plaintiff’s consumer rights.

                    Count I – Private Right of Action under Chapter 367
       29.     Each plaintiff repeats the allegations set forth above as if set forth in Count I.

       30.     Sections 367.500 to 367.533 protect consumer borrowers by requirement and

proscription of certain conduct but provide no express civil remedy to persons injured by a title

lenders failure to comply with sections 367.500 to 367.533.

       31.     TitleMax violated §§ 367.500 to 367.533 when negotiating, offering, soliciting, or

entering into the title loan agreement with each plaintiff.

       32.     As a direct and proximate result of TitleMax’s failure to comply with the

requirements of §§ 367.500 to 367.533, each plaintiff suffered actual damages, including:

               a.      Paying principal, fees and interest on loans issued without consideration for

       Each plaintiff’s ability to repay the title loan.

               b.      Paying excess interests and fees because TitleMax failed to reduce the

       principal by at least 10% upon the third and subsequent renewals.

               c.      Violations of statutorily required notice and disclosure requirements in the

       title loan agreement.

               d.      Paid fees and incurred costs besides the principal on the loan.


                                                   5
                                                                                                        Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 16 of 27 PageID #: 28



               e.      Other uncertain and hard-to-quantify actual damages.

        33.    Each plaintiff requests the Court enter judgment in his or her favor and against

TitleMax as described in the “Prayer for Relief.”

                              Count II – Chapter 408 Violations
        34.    Each plaintiff repeats the allegations set forth above as if set forth in Count II.

        35.    Section 408.553 prohibits a lender from charging or collecting interest after default

until after a final judgment is obtained.

        36.    Contrary to § 408.553, each plaintiff’s title loan agreement provides interest will

continue to accrue on the title loan agreement after default even if no final judgment is obtained.

        37.    TitleMax did not seek a deficiency judgment or other judgments against each

plaintiff.

        38.    TitleMax violated Chapter 408 for each plaintiff by collecting or charging interest

that accrued after default but before any final judgment was obtained.

        39.    Section 408.555 prohibits TitleMax from accelerating the maturity of the unpaid

balance or otherwise enforcing its security interest until the notice required by § 408.554 is given.

        40.    TitleMax failed to give each plaintiff the notice required by § 408.554 before it

accelerated the maturity of the unpaid balance under each plaintiff’s title loan agreement.

        41.    TitleMax failed to give each plaintiff the notice required by § 408.554 before it sold

the collateral secured by each plaintiff’s title loan agreement.

        42.    TitleMax violated Chapter 408 for each plaintiff by accelerating the maturity of the

unpaid balance under each plaintiff’s title loan agreement.

        43.    TitleMax violated Chapter 408 for each plaintiff by selling the collateral secured

by each plaintiff’s title loan agreement.




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                                                                                                        Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 17 of 27 PageID #: 29



       44.     TitleMax’s violation of Chapter 408 for each plaintiff also violates §§ 367.512.1(6),

(7) and 367.521 for each plaintiff, rendering each plaintiff’s title loan agreement void under §

367.527.2.

       45.     As a direct and proximate result of TitleMax’s violations of Chapter 408 for each

plaintiff, each plaintiff suffered, and continues to suffer, actual damages not less than the minimum

damages provided by § 400.9-625(c)(2), including:

               a.      Wrongfully collected amounts of interest.

               b.      The surplus after disposition of the collateral that would be equal to the

       proceeds of disposition minus the wrongfully accrued interest and unaccelerated balance

       due on each plaintiff’s title loan agreement.

               c.      Paying principal, fees and interest on loans issued without consideration for

       each plaintiff’s ability to repay the title loan.

               d.      Paying excess interest and fees because TitleMax failed to reduce the

       principal by at least 10% upon the third and subsequent renewals.

               e.      Violations of statutorily required notice and disclosure requirements in each

       plaintiff’s title loan agreement.

               f.      Paid fees and incurred costs besides the principal on each plaintiff’s loan.

               g.      Harm caused by defamation, slander and libel.

               h.      Harm caused by invasion of privacy.

               i.      Damage to credit.

               j.      Other uncertain and hard-to-quantify actual damages.

       46.     Each plaintiff is entitled to attorney’s fees under § 408.562.

       47.     Each plaintiff is entitled to punitive damages under § 408.562.




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                                                                                                       Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 18 of 27 PageID #: 30



       48.     Each plaintiff requests the Court enter judgment in his or her favor and against

TitleMax as described in the “Prayer for Relief.”

                                   Count III – UCC Violations
       49.     Each plaintiff repeats the allegations set forth above as if set forth in Count III.

       50.     TitleMax violated the UCC for each plaintiff by failing to send each plaintiff a

presale notice in the form and manner required under the UCC before disposing of collateral

secured by loans between TitleMax and each plaintiff.

       51.     Alternatively, TitleMax violated the UCC for each plaintiff by sending presale

notice to each plaintiff that included additional language or content not authorized or allowed by

law, rendering the presale notice to each plaintiff misleading or unreasonable in violation of §§ 9-

611 and 9-614 of the UCC.

       52.     As required under § 9-611 of the UCC, TitleMax failed to provide “reasonable

authenticated notice of disposition” to each plaintiff.

       53.     TitleMax violated § 9-615 of the UCC by applying the proceeds of sale of each

plaintiff’s collateral in the wrong order.

       54.     TitleMax did not send post-sale notice, or any other explanation or writing, to each

plaintiff providing all the information, in the requisite order, as required by § 9-616 of the UCC.

       55.     If post-sale notice were sent, the post-sale notice sent to each plaintiff failed to

comply with § 400.9-616 because.

       56.     Future debits, credits, charges, including additional credit service charges or

interest, rebates, and expenses affected the surplus or deficiency for each plaintiff.

       57.     TitleMax’s failure to provide a statutorily compliant post-sale notice is part of a

pattern, or consistent with a practice, of noncompliance.




                                                  8
                                                                                                         Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 19 of 27 PageID #: 31



       58.     TitleMax’s violation of Chapter 400 for each plaintiff also violates §§ 367.512.1(6),

(7) and 367.521 for each plaintiff, rendering each plaintiff’s title loan agreement void under §

367.527.2.

       59.     As a direct and proximate result of TitleMax’s failure to comply with the

requirements of Subchapter 6 of Article 9 of the UCC, each plaintiff suffered actual damages not

less than the minimum damages provided by § 400.9-625(c)(2), including:

               a.      Harm caused by defamation, slander, and libel.

               b.      Harm caused by invasion of privacy.

               c.      Violations of statutorily required notice and disclosure requirements in each

       plaintiff’s title loan agreement.

               d.      Other uncertain and hard-to-quantify actual damages.

       60.     Each plaintiff requests the Court enter judgment in his or her favor and against

TitleMax as described in the “Prayer for Relief.”

                       Count IV – Breach of Title Loan Agreement
       61.     Each plaintiff repeats the allegations set forth above as if set forth in Count IV.

       62.     Plaintiffs plead Count IV in the alternative to Count I for each plaintiff who is found

to have a valid and enforceable title loan agreement.

       63.     Each valid and enforceable title loan agreement required TitleMax to declare all

amounts outstanding under each plaintiff’s title loan agreement immediately due and payable

before it repossessed and foreclosed on each plaintiff’s vehicle.

       64.     TitleMax breached each plaintiff’s valid and enforceable title loan agreement

because it repossessed the vehicles before declaring all amounts outstanding under the title loan

agreement immediately due and payable.




                                                 9
                                                                                                       Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 20 of 27 PageID #: 32



       65.     TitleMax breached each plaintiff’s valid and enforceable title loan agreement

because it foreclosed upon the vehicles before declaring all amounts outstanding under the title

loan agreement immediately due and payable.

       66.     As a direct and proximate result of TitleMax’s breach, each plaintiff suffered actual

damages not less than the minimum damages provided by § 400.9-625(c)(2), including:

               a.      Harm caused by defamation, slander, and libel.

               b.      Harm caused by invasion of privacy.

               c.      Violations of statutorily required notice and disclosure requirements in each

       plaintiff’s title loan agreement.

               d.      Other uncertain and hard-to-quantify actual damages, including loss of the

       vehicle (and all improvements made to the vehicle), cost of insurance premiums, expenses

       and labor by each plaintiff and others on their behalf directly related to coping with the

       repossession, the value of each plaintiff’s efforts and others to cover for problems caused

       by the lack of a car, loss of use of the vehicle, inconvenience, aggravation, embarrassment,

       frustration, humiliation, and emotional distress.

       67.     Each plaintiff requests the Court enter judgment in his or her favor and against

TitleMax as described in the “Prayer for Relief.”

                        Count V – Breach of Arbitration Agreement
       68.     Each plaintiff repeats the allegations set forth above as if set forth in Count V.

       69.     Plaintiffs plead Count V for each plaintiff who TitleMax maintains is bound by a

valid and enforceable arbitration agreement.

       70.     For each valid and enforceable arbitration agreement, TitleMax agreed to pay all

filing, hearing, and third-party arbitrator fees (“Arbitration Fees”).




                                                  10
                                                                                                      Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 21 of 27 PageID #: 33



       71.     Each plaintiff bound by a valid and enforceable arbitration agreement that covers a

dispute with TitleMax demanded that TitleMax advance or pay the Arbitration Fees so each

plaintiff could file an individual arbitration for covered disputes.

       72.     Each plaintiff bound by a valid and enforceable arbitration agreement that covers a

dispute with TitleMax is acting in good faith.

       73.     Each plaintiff bound by a valid and enforceable arbitration agreement that covers a

dispute with TitleMax cannot get a fee waiver.

       74.     TitleMax refused to advance the Arbitration Fees for each plaintiff bound by a valid

and enforceable arbitration agreement that covers a dispute with TitleMax.

       75.     TitleMax refused to pay the Arbitration Fees for each plaintiff bound by a valid and

enforceable arbitration agreement that covers a dispute with TitleMax.

       76.     TitleMax is in default in proceeding with arbitration for each plaintiff bound by a

valid and enforceable arbitration agreement that covers a dispute with TitleMax for its refusal and

failure to pay the Arbitration Fees.

       77.     TitleMax is in default in proceeding with arbitration for each plaintiff bound by a

valid and enforceable arbitration agreement that covers a dispute with TitleMax because TitleMax

failed to comply with the AAA’s policies regarding consumer claims.

       78.     Because the AAA declined to administer any arbitrations by TitleMax, each

plaintiff bound by a valid and enforceable arbitration agreement that covers a dispute with

TitleMax may submit his or her dispute to the appropriate court for resolution.

       79.     TitleMax is in breach of contract for its refusal and failure to advance or pay the

Arbitration Fees for each plaintiff bound by a valid and enforceable arbitration agreement that

covers a dispute with TitleMax.




                                                  11
                                                                                                     Electronically Filed - Jefferson - November 06, 2019 - 11:58 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 22 of 27 PageID #: 34



       80.     As a direct and proximate result of TitleMax’s breach, each plaintiff bound by a

valid and enforceable arbitration agreement that covers a dispute with TitleMax suffered actual

damages not less than the Arbitration Fees.

       81.     For each plaintiff bound by a valid and enforceable arbitration agreement that

covers a dispute with TitleMax, Plaintiffs request TitleMax be ordered to pay all Arbitration Fees

before or commensurate with compelling arbitration of any covered dispute.

       82.     Each plaintiff requests the Court enter judgment in his or her favor and against

TitleMax as described in the “Prayer for Relief.”

                                       Prayer for Relief
       WHEREFORE, each plaintiff prays this Court enter a judgment for each plaintiff against

TitleMax for $50,000.



                                              ONDERLAW, LLC

                                      By:     /s/ James G. Onder
                                              James G. Onder, #38049
                                              Martin L. Daesch, #40494
                                              Jesse B. Rochman, #60712
                                              110 E. Lockwood Ave.
                                              St. Louis, MO 63119
                                              (314) 963-9000 (telephone)
                                              (314) 963-1700 (facsimile)
                                              onder@onderlaw.com
                                              daesch@onderlaw.com
                                              rochman@onderlaw.com
                                              Attorneys for Plaintiffs



                                  Certificate of Service
       I certify on November 6, 2019, the foregoing was electronically mailed to TitleMax’s
attorneys of record.


                                                            /s/ James G. Onder


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                                                                                             Electronically Filed - Jefferson - November 26, 2019 - 10:14 AM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 23 of 27 PageID #: 35



                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                               STATE OF MISSOURI

 KIMBERLY ABRAM, et al.,

         Plaintiffs,
                                                           Case No. 19JE-CC00803
 v.

 TITLEMAX OF MISSOURI, INC.                                JURY TRIAL DEMANDED

         Defendant.


                                    ENTRY OF APPEARANCE

        COME NOW Martin L. Daesch and The Onder Law Firm, hereby enter their appearance

on behalf of Plaintiffs.

                                             ONDERLAW, LLC

                                      By:   /s/ Martin L. Daesch
                                            James G. Onder, #38049
                                            Martin L. Daesch, #40494
                                            Jesse B. Rochman, #60712
                                            Craig W. Richards, #67262
                                            110 E. Lockwood Ave.
                                            St. Louis, MO 63119
                                            (314) 963-9000 (telephone)
                                            (314) 963-1700 (facsimile)
                                            onder@onderlaw.com
                                            daesch@onderlaw.com
                                            rochman@onderlaw.com
                                            Attorneys for Plaintiffs


                                 Certificate of Service
       I do hereby certify that a true and correct copy of the foregoing document has been
served by means of electronic filing to counsel of record this 26th day of November, 2019.


                                                /s/ Martin L. Daesch




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                                                                                             Electronically Filed - Jefferson - November 26, 2019 - 01:13 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 24 of 27 PageID #: 36



                  IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                              STATE OF MISSOURI

 KIMBERLY ABRAM, et al.,

        Plaintiffs,
                                                           Case No. 19JE-CC00803
 v.

 TITLEMAX OF MISSOURI, INC.                                JURY TRIAL DEMANDED

        Defendant.


                                      ENTRY OF APPEARANCE

       COME NOW Craig W. Richards and The Onder Law Firm, hereby enter their

appearance on behalf of Plaintiffs.

                                             ONDERLAW, LLC

                                      By:   /s/ Craig W. Richards
                                            James G. Onder, #38049
                                            Martin L. Daesch, #40494
                                            Jesse B. Rochman, #60712
                                            Craig W. Richards, #67262
                                            110 E. Lockwood Ave.
                                            St. Louis, MO 63119
                                            (314) 963-9000 (telephone)
                                            (314) 963-1700 (facsimile)
                                            onder@onderlaw.com
                                            daesch@onderlaw.com
                                            rochman@onderlaw.com
                                            Attorneys for Plaintiffs

                                  Certificate of Service
       I do hereby certify that a true and correct copy of the foregoing document has been
served by means of electronic filing to counsel of record this 26th day of November, 2019.


                                                /s/ Craig W. Richards




                                               1
                                                                                             Electronically Filed - Jefferson - November 26, 2019 - 01:14 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 25 of 27 PageID #: 37



                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                               STATE OF MISSOURI

 KIMBERLY ABRAM, et al.,

         Plaintiffs,
                                                           Case No. 19JE-CC00803
 v.

 TITLEMAX OF MISSOURI, INC.                                JURY TRIAL DEMANDED

         Defendant.


                                    ENTRY OF APPEARANCE

        COME NOW Jesse B. Rochman and The Onder Law Firm, hereby enter their appearance

on behalf of Plaintiffs.

                                             ONDERLAW, LLC

                                      By:   /s/ Jesse B. Rochman
                                            James G. Onder, #38049
                                            Martin L. Daesch, #40494
                                            Jesse B. Rochman, #60712
                                            Craig W. Richards, #67262
                                            110 E. Lockwood Ave.
                                            St. Louis, MO 63119
                                            (314) 963-9000 (telephone)
                                            (314) 963-1700 (facsimile)
                                            onder@onderlaw.com
                                            daesch@onderlaw.com
                                            rochman@onderlaw.com
                                            Attorneys for Plaintiffs

                                 Certificate of Service
       I do hereby certify that a true and correct copy of the foregoing document has been
served by means of electronic filing to counsel of record this 26th day of November, 2019.


                                                    /s/ Jesse B.Rochman




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           Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 26 of 27 PageID #: 38

             IN THE 23RD JUDICIAL CIRCUIT, JEFFERSON COUNTY, MISSOURI

Judge or Division:                                              Case Number: 19JE-CC00803
DIANNA LYNN BARTELS
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
KIMBERLY ABRAM                                                  JAMES G ONDER
                                                                110 E. LOCKWOOD
                                                                2ND FLOOR
                                                          vs.   SAINT LOUIS, MO 63119
Defendant/Respondent:                                           Court Address:
TITLEMAX OF MISSOURI, INC.                                      P O BOX 100
Nature of Suit:                                                 300 MAIN ST
CC Breach of Contract                                           HILLSBORO, MO 63050                                          (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: TITLEMAX OF MISSOURI, INC.
                            Alias:
 SERVE: C T CORPORATION SYSTEM
 120 SOUTH CENTRAL AVENUE
 CLAYTON, MO 63105
      COURT SEAL OF        You          are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     11/26/19 MICHAEL E. REUTER, CIRCUIT CLERK
    JEFFERSON COUNTY
                                            /s/: T. PRINCE, DEPUTY CLERK
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.



OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-1632             1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                  Electronically Filed - Jefferson - December 02, 2019 - 02:57 PM
Case: 4:19-cv-03322-HEA Doc. #: 1-1 Filed: 12/24/19 Page: 27 of 27 PageID #: 39
